

MB Moda Borse S.R.L. v Marks (2022 NY Slip Op 00729)





MB Moda Borse S.R.L. v Marks


2022 NY Slip Op 00729


Decided on February 03, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 03, 2022

Before: Manzanet-Daniels, J.P., Webber, Oing, Mendez, Higgitt, JJ. 


Index No. 651547/20 Appeal No. 15220 Case No. 2021-01987 

[*1]MB Moda Borse S.R.L., Plaintiff-Appellant,
vLana Marks et al., Defendants-Respondents.


Fox Horan &amp; Camerini LLP, New York (Jami L. Mevorah of counsel), for appellant.
Jason Levine, New York, for respondent.



Order, Supreme Court, New York County (Alan C. Marin, J.), entered on or about October 30, 2020, which, to the extent appealed from as limited by the briefs, granted defendants' cross motion under CPLR 3211(a)(5) to dismiss the action as time-barred, unanimously reversed, on the law, without costs, the cross motion denied, and the complaint reinstated.
The record presents an issue of fact as to whether defendants' March 27, 2015 email acknowledged a debt and the obligation to pay it within the meaning of General
Obligations Law § 17-101, thus taking the action outside the statute of limitations (see Hawk Mtn. LLC v RAM Capital Group LLC, 192 AD3d 447, 448 [1st Dept 2021]; Renk v Renk, 188 AD3d 502, 503 [1st Dept 2020]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 3, 2022








